Case 1:15-cv-07433-LAP Document 1106-1 Filed 08/24/20 Page 1 of 7




       EXHIBIT
         A
     Case
      Case1:15-cv-07433-LAP
            18-2868, DocumentDocument  1106-1 2628241,
                             283, 08/09/2019,  Filed 08/24/20
                                                        Page92Page
                                                               of 8832 of 7

                Agren Blando Court Reporting & Video, Inc.

 l   think I met Prince Andrew in 2001.                     And Glenn Dubin

 2   and Stephen Kaufmann were, like I said, the first
 3   people I was sent out to after my training.                     So I
 4   don't know.       I'm not going to give you an exact time
 5   if I don't know it.
 6          Q        I asked you the relative order.
 7          A       And I'm trying to give you it.
 8          Q       And where does Alan Dershowitz fit into
 9   that group of people?
10          A        Same.     I can't tell you piece by piece by
11   piece who -- I know Glenn Dubin was first.
12          Q        Okay.
13          A       And I know Stephen Kaufmann was one of the
14   first I was sent to.            Alan Dershowitz could have been
15   between there.          Between, sorry, between Glenn and
16   Stephen.      The first time I was with Alan Dershowitz
17   was in New York, so I wasn't actually sent to him.
18   It actually happened at one of Jeffrey's residences.
19                   (Ms. McCawley left the deposition.)
20          A        So it's very hard for me to
21   chronologically give you each person individually.
22          Q        (BY MS. MENNINGER)             Okay.     Name the other
23   politically connected and financially powerful people
24   that Ghislaine Maxwell told you to go have sex with?
25          A       Again, I'm going to tell you "they"
                           VTRGTNTA GTIIFFRF F/1/?niF                          1Q?
     Case
      Case1:15-cv-07433-LAP
            18-2868, DocumentDocument  1106-1 2628241,
                             283, 08/09/2019,  Filed 08/24/20
                                                        Page93Page
                                                               of 8833 of 7

                 Agren Blando Court Reporting & Video, Inc.

 1   because that's how it went.                 They instructed me to go
 2   to George Mitchell, Jean Luc Brunei, Bill Richardson,
 3   another prince that I don't know his name.                     A guy
 4   that owns a hotel, a really large hotel chain, I
 5   can't remember which hotel it was.                   Marvin Minsky.
 6                    There was, you know, another foreign
 7   president, I can't remember his name.                    He was
 8   Spanish.       There's a whole bunch of them that I
 9   just -       it's hard for me to remember all of them.
10   You know, I was told to do something by these people
11   constantly, told to -- my whole life revolved around
12   just pleasing these men and keeping Ghislaine and
13   Jeffrey happy.         Their whole entire lives revolved
14   around sex.
15                    They call massages sex.              They call
16   modeling sex.         They call
17           Q        I asked you the names for people.                Are you
18   going to tell me any other names or is that all of
19   them?
20           A        I'm trying to think.              That's the answer
21   I'm trying to give to you.                 It's that it's so hard to
22   just keep naming and naming and naming.
23           Q       All right.
24           A       A lot of times I would be introduced to
25   them.       I didn't know
                           VTRGTNTA GTIIFFRF F/1/?niF                            1QA
Case 1:15-cv-07433-LAP
  Case  18-2868, DocumentDocument  1106-1 2628230,
                          278, 08/09/2019, Filed 08/24/20 Page
                                                     Page559    4 of 7
                                                             of 648



                     Confidential/Sealed Transcript Pursuant to Court Order
               Videotaped Deposition of Virginia Roberts Giuffre (January 16, 2016)
                                        Job No. J0277789                                                      m
     i                                   DEPOSITION ERRATA SHEET



 3 Assignment                    no:   30277789

 4 cradle.y                 ).   f dward*; and Paul        0.         (.as sol)

     S   vs.

 6 Alan                M.   Dershowit?
     T                                                    Vr-.T


     8                           DECtARATTON IJNDFR PFNA1 TV OF PERJURY

 9
 10                                    i declare under penalty of- perjury that i
 11      have road tho cm ire r ran sc ript of rry vi doo taped
 17 deposition taken in the captioned marter or -the same has
 13 been read to me, and the same is true and accurate, save
 14 and except for changes and/or correct ions, if any, as
 15 indicated by me on the DEPOSITION f.RRata sheet hereof,
 16 with the understanding that                              I offer these changes as if
 17      still under oath.
 18

 19                                    Signed on the              1          day of
                                                                                      V   y t :• c' * i
                                                                                                      0
                                                                                                          V
 20 20 \ia .

 71
 77
               s
                                                    *'4
 73                i



                                          -C
                                               ■i




 2'1                             VIRGINIA ROBERTS CIUTTRF
 75




                                                                                          GIUFFRE005311
                                                                                          CONFIDENTIAL
Case 1:15-cv-07433-LAP
  Case  18-2868, DocumentDocument  1106-1 2628230,
                          278, 08/09/2019, Filed 08/24/20 Page
                                                     Page560    5 of 7
                                                             of 648


                Confidential/Sealed Transcript Pursuant to Court Order
          Videotaped Deposition of Virginia Roberts Giuffre (January 16, 2016)
                                   Job No. J0277789


                              DEPOSITION' ERRATA SHEET


 Page No. 6           Line No. 17

 Change to: “Yes. I signed the subpoena duces tecum.”

 Reason for change: Did not initially recognize the document

Page No. 6            Line No. 20

Change to: “No. My lawyers worked with me to collect documents and my understanding
is that we turned those documents over to Dershowitz’s counsel prior to the deposition.”

Reason for change: Clarification of answer

Page No. 9            Line No. 9

Change to: “Yes.”

Reason for change: Did not initially recognize the document

Page No. II           Line No. I

Change to: “Yes.”

Reason for change: Misunderstood the question

Page 11               Line Nos. 4-5

Change to: “I’m confused. I don’t know what foreign president you’re talking about.”

Reason for change: Misunderstood the question

Page No. 11           Line No. 23

Change to: “I understand well-known prime ministers and other w orld leaders; as far as
foreign presidents, I believe so.”

Reason for change: Misunderstood the question

Page No. 12           Line No. 2

Change to: “Yes, assuming South America is considered overseas.”

Reason for change: Misunderstood the question

Page No. 12          Line No. 8

Change to: “As far as I know right now, yes, I was.”




                                                                                       GIUFFRE005312
                                                                                       CONFIDENTIAL
Case 1:15-cv-07433-LAP
  Case  18-2868, DocumentDocument  1106-1 2628230,
                          278, 08/09/2019, Filed 08/24/20 Page
                                                     Page561    6 of 7
                                                             of 648

              Confidential/Sealed Transcript Pursuant to Court Order
        Videotaped Deposition of Virginia Roberts Giuffre (January 16, 2016)
                                 Job No. J0277789


  Reason for change: Misunderstood [he question

 Page No. 38              Line No. I I

 Chanae to: “I’ll continue with the list here. Nadia Marcinkova I was not sent to her, hut
 she was part of it with Jeff Epstein. Others on the list include Marvin Minsky and Tom
 Pritzkcr.”

 Reason for change: Clarification of answer

 Page 38        Line 19

 Chance to: “Off the top of my head, once, but it could have been more.”

 Reason for change: Clarification of answer

 Page No. 38           Line No. 21

 Change to: “1 believe Tom was at Mexico. I may have also been with him in other
 places.”

 Reason for change: Clari fication of answer

 Page No. 41           Line No. 8

Change to: “On an airplane and in a limo.”

Reason for change: Clarification of answer

Page No. 41            Line No. 10

Change to: “One, each time.”

Reason for change: Clarification of answer

Page No. 41           Line No. 12

Change to: “On airplane, blond, young.”

Reason for change: Clarification of answer

Page No. 98           Line No. 16

Change to: “As you can see in that answer I’m not even sure. It wasn’t six months, but
between six months and a year which is why I’m saying nine months. It was an
assumption. It could have been six weeks.”

Reason for change: Clarification of answer




                                                                                         GIUFFRE005313
                                                                                         CONFIDENTIAL
Case 1:15-cv-07433-LAP
  Case  18-2868, DocumentDocument  1106-1 2628230,
                          278, 08/09/2019, Filed 08/24/20 Page
                                                     Page562    7 of 7
                                                             of 648


             Confidential/Sealed Transcript Pursuant to Court Order
       Videotaped Deposition of Virginia Roberts Giuffre (January 16, 2016)
                                Job No. J0277789

 Page No. 190             Line No. 22

Change to; “No, other than maybe you showing it to me today. It’s in my pile. It’s not in
my pile, is it? 1 don’t know. I haven’t seen it. I was served with the subpoena, and I
signed for it, and I reviewed it at that time.”

Reason for change: Clarification of answer

Page 191        Line 5

Chansie to: “Why would l do — no. I did collect documents and gave them to my lawyers
in response to this subpoena. And my understanding is those documents were
prod need.”

Reason for change: Misunderstood the question

Page 191        Line 20

Change to: “Yes, but I did not have any pictures of myself with Professor Dershowitz.”

Reason for change: Misunderstood the question




                                                                                         GIUFFRE005314
                                                                                         CONFIDENTIAL
